

People v Hines (2025 NY Slip Op 02167)





People v Hines


2025 NY Slip Op 02167


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, O'Neill Levy, Michael, JJ. 


Ind. No. 1040/20|Appeal No. 4113|Case No. 2022-02784|

[*1]The People of the State of New York, Respondent,
vPrincston Hines, Appellant.


Twyla Carter, The Legal Aid Society, New York (Clara Hammond-Oakley of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Jennifer Mitchell of counsel), for respondent.



Judgment, Supreme Court, New York County (April Newbauer, J. at motion, plea, and sentencing), rendered May 26, 2022, convicting defendant of attempted murder in the second degree and criminal possession of a weapon in the second degree, and sentencing him to two concurrent terms of 10 years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US ___, 140 S Ct 2634 [2020]), which foreclose his challenge to the denial of his motion to controvert a search warrant and review of his excessive sentence claim (see People v Samuels, 195 AD3d 570, 570-571 [1st Dept 2021], lv denied 37 NY3d 1148 [2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








